       Case 19-31765                  Doc 10         Filed 11/10/19 Entered 11/10/19 23:22:28                                    Desc Imaged
                                                     Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                 Jerry F Trost                                                          Social Security number or ITIN    xxx−xx−4184

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Illinois
                                                                                                Date case filed for chapter 13 11/7/19
Case number:          19−31765



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Jerry F Trost

2. All other names used in the
   last 8 years
                                              aka Gerard F Trost

                                              1848 Sycamore St
3. Address                                    Des Plaines, IL 60018
                                              David H Cutler                                                Contact phone 847−673−8600
4. Debtor's  attorney
   Name and address
                                              Cutler & Associates, Ltd.
                                              4131 Main St.
                                                                                                            Email: cutlerfilings@gmail.com

                                              Skokie, IL 60076

5. Bankruptcy trustee                         Marilyn O Marshall                                            Contact phone 312−431−1300
     Name and address                         224 South Michigan Ste 800
                                              Chicago, IL 60604

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed      Eastern Division                                              8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                         219 S Dearborn                                                Sundays and legal holidays.
     You may inspect all records filed in     7th Floor                                                     Contact phone 1−866−222−8029
     this case at this office or online at    Chicago, IL 60604                                             Date: 11/8/19
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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                                                   Certificate of Notice Page 2 of 3
Debtor Jerry F Trost                                                                                                                     Case number 19−31765

7. Meeting of creditors
    Debtors must attend the meeting to     December 3, 2019 at 02:00 PM                                       Location:
    be questioned under oath. In a joint                                                                     224 South Michigan, Suite 800, Chicago, IL
    case, both spouses must attend.                                                                          60604
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 2/3/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 1/16/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 5/5/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           1/15/20 at 10:30 AM , Location: 219 South Dearborn, Courtroom 613, Chicago, IL 60604

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4000.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-31765-DLT
Jerry F Trost                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: cmendoza1                    Page 1 of 1                          Date Rcvd: Nov 08, 2019
                                      Form ID: 309I                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 10, 2019.
db             +Jerry F Trost,    1848 Sycamore St,   Des Plaines, IL 60018-2355
28366866       +Dental Vue,    1447 Lee St,   Des Plaines, IL 60018-1516

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cutlerfilings@gmail.com Nov 09 2019 01:41:09        David H Cutler,
                 Cutler & Associates, Ltd.,    4131 Main St.,    Skokie, IL 60076
tr             +E-mail/Text: courtnotices@chi13.com Nov 09 2019 01:42:17        Marilyn O Marshall,
                 224 South Michigan Ste 800,    Chicago, IL 60604-2503
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV Nov 09 2019 01:42:27        Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,    219 S Dearborn St,     Room 873,
                 Chicago, IL 60604-2027
28366864       +E-mail/Text: bk@blittandgaines.com Nov 09 2019 01:42:01        Blitt and Gaines,    661 GLENN AVE,
                 Wheeling, IL 60090-6017
28366865       +EDI: CHASE.COM Nov 09 2019 06:13:00      Chase Card Services,     Attn: Bankruptcy,    Po Box 15298,
                 Wilmington, DE 19850-5298
28366867       +E-mail/Text: bncnotices@becket-lee.com Nov 09 2019 01:41:44        Kohls/Capital One,
                 Attn: Credit Administrator,    Po Box 3043,    Milwaukee, WI 53201-3043
28366868       +EDI: PHINGENESIS Nov 09 2019 06:13:00      Mabt - Genesis Retail,     Attn: Bankruptcy,
                 Po Box 4477,   Beaverton, OR 97076-4401
28366869       +EDI: MID8.COM Nov 09 2019 06:13:00      Midland Credit Managemen,     2365 Northside Ste 300,
                 San Diego, CA 92108-2709
28366870       +E-mail/Text: jennifer.chacon@spservicing.com Nov 09 2019 01:44:10
                 Select Portfolio Servicing, Inc,    Attn: Bankruptcy,     Po Box 65250,
                 Salt Lake City, UT 84165-0250
28370006       +EDI: RMSC.COM Nov 09 2019 06:13:00      Synchrony Bank,     c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
28366871       +EDI: WTRRNBANK.COM Nov 09 2019 06:13:00       Target,    Attn: Bankruptcy,   Po Box 9475,
                 Minneapolis, MN 55440-9475
28366872       +EDI: VERIZONCOMB.COM Nov 09 2019 06:13:00       Verizon,    Att Bankruptcy,
                 500 Technology Drive Ste 550,    Saint Charles, MO 63304-2225
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 10, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 8, 2019 at the address(es) listed below:
              David H Cutler   on behalf of Debtor 1 Jerry F Trost cutlerfilings@gmail.com,
               r48280@notify.bestcase.com
              Marilyn O Marshall    courtdocs@chi13.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
